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          This Is Exhibit,...G.........,....,....referred
                                                        to In the

          affidavit   of,. t. O,I..Q,....+Z!X..~..3.,~2~..t.....,..
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                                                                                            File No. 09-CL-7950

                                                ONTARIO
                                       SUPERIOR COURT OF JUSTICE
                                           COMMERCIAL LIST


     THE    HONOURABLE           MR.    JUSTICE     )     FRIDAY, THE th2 0     DAY OF

     MORAWETZ                                             SEPTEMBER, 2013



            IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT ACT,
                            R.S.C. 1985, c. C-36, AS AMENDED

    AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF NORTEL
              fflmWORKS CORPORATION, NORTEL NETWORKS LIMITED,




                                                 ORDER
                                        (Amended Deposition Protocol)


       THIS MOTION made b y Nortel Networks Coiporation, Nortel Networks Limited, Nortel

Networks Technology Corporation, Nortel Networks Global Corporation and Nortel Networks

International Corporation (collectively, the "Canadian Debtors") jointly with Ernst & Young Inc. in its

capacity as monitor (the "Monitor") o f the Canadian Debtors for the relief set out in the Notice of

Motion dated September 17, 2013, was heard this day at 393 University Avenue, Toronto, Ontario.


       ON READING the Notice o f Motion dated September 17, 2013, and on hearing submissions of

counsel for the Canadian Debtors and the Monitor, and on being advised o f the consent or "non-

opposition o f the other Core Parties, no one appearing for any other person on the service list or the core
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party service list although duly served as appears from the affidavit o f Christopher G. Armstrong sworn

September 18, 2013, filed.


1.     THIS COURT ORDERS that the time for the service o f the Notice o f Motion and other motion

materials is hereby abridged and validated so that this Motion is property returnable today and hereby

dispenses with farther service .thereof


2.     THIS COURT ORDERS that the Amendment to Deposition Protocol Stipulation appended as

Exhibit "A" hereto be and is hereby approved.


3.     THIS COURT ORDERS that, without derogating from the Order (Protective Order) o f this

Court dated June 11, 2013, in connection with evidence obtained on any examination/deposition o f a

witness or party that is conducted in these proceedings, the laws o f the jurisdiction where the

examination/deposition is conducted shall apply, for all purposes, as relate to protections against self-

incrimination and the use or derivative use o f evidence for collateral purposes or in other proceedings, as

applicable.


MISCELLANEOUS


4.     THIS COURT HEREBY REQUESTS the aid and recognition o f any court, tribunal,

regulatory or administrative body having jurisdiction in Canada, the United States, the United Kingdom

or elsewhere, to give effect to this Order and to assist the Canadian Debtors, the Monitor and their

respective agents in carrying. out the terms o f this Order.        All courts, tribunals, regulatory and

administrative bodies are hereby respectfully requested to make such orders and to provide such

assistance to the Canadian Debtors and to the Monitor, as a n officer o f this Court, as may b e necessary

or desirable to give effect to this Order, to grant representative status to the Monitor in any foreign
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                                                                -3 -

proceeding, or to assist the Canadian Debtors and the Monitor and their respective agents in carrying out

the terms o f this Order.


5.       THIS COURT ORDERS that each o f the Canadian Debtors and the Monitor be at liberty and

are hereby authorized and empowered to apply to any court, tribunal, regulatory or administrative body,

wherever located, for the re cognition o f this Order and for assistance in carr
                                                                            ying           out the et rms o f this

Order.




      E N T E R E D AT / I N S C R I T A T O R O N T O
      ON / BOOK NO:
      LE / D A N S LE F i E G I S T R E N O . :




         t          S E P 2 0 2013
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                       EXHIBIT "A"
   AMENDMENT TO DEPOSITION PROTOCOL STIPULATION


                      [ATTACHED]
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re\                                                                    Chapter 11


                         1
Nortel Networks Inc., et a!,,                                             Case No. 09-10138 (KG)

                                                                          (Jointly Administered)
                                        Debtors.


                 AMENDMENT TO DEPOSITION PROTOCOL STIPLUATION

         Having conferred and agreed on certain matters related to the use o f depositions i n the

litigations concerning the Allocation dispute, the US Claims and the Canadian Claims, as

required by the Deposition Protocol, which protocol was approved by orders o f the U.S. and

Canadian Courts dated August 26, 2013 and August 27, 2013, respectively, the parties hereto

stipulate and agree that, subject to orders o f the U.S. and Canadian Courts approving this

Amendment to Deposition Protocol Stipulation, Section K o f the Deposition Protocol shall b e

amended so that the last paragraph thereof is deleted in its entirety and replaced with the
              2
following two paragraphs:

         K.       USE OF DEPOSITIONS AT TRIAL

         [.. 0                ^

         Except as ordered by the Courts for good cause, for any fact witness who is not appearing

         to testify at trial, each Discovery Participant may submit into evidence the transcript of
1
         The debtors in the chapter 11 cases, along with the last four digits of each such debtor's tax identification
number, are: Nortel Networks Inc. (6332); Nortel Networks Capital Corporation (9620); Nortel Altsystems Inc.
(9769); Nortel Altsystems International Inc. (5596); Xros, Inc. (4181); Sonoma Systems (2073); Qtera Corporation
(0251); CoreTek, Inc, (5722); Nortel Networks Applications Management Solutions Inc. (2846); "Nortel Networks
Optical Components Inc. (3545); Nortel Networks HPOCS Inc. (3546); Architel Systems (U.S.) Corporation (3826);
Nortel Networks International Inc, (0358); Northern Telecom Interna fion a1 Inc. (6286); Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226).
2
         Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the
Litigation Timetable, approved by this Court's order dated May 17, 2013 [Dkt, No, 10566], and/or the Allocation
Protocol, approved by this Court's order dated May 17,2013 [Dkt. No. 10565].
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such fact witness' deposition testimony or compelled testimony taken on any

examination conducted pursuant to letters rogatory or letters o f request, regardless of

where the deponent resides, as part of a Discovery Participant's direct or rebuttal case, or

as part o f a cross-examination, at trial to determine Allocation, U.S, Claims and/or

Canadian Claims.      This submission will continue to be subject to the local rules of

evidence and procedure that would apply if the witness were present and testifying in the

U.S, or Canada, respectively, I f a party offers only part o f a deposition/examination, a

party adverse in interest with respect to the topics covered in the part of the deposition so

designated may designate other parts o f the deposition/examination for context and any

party may itself introduce other parts,       Deposition/examination evidence must be

provided to the courts in transcript form but may also be provided b y video recording if

available.        -



The dispute about the compellability o f witnesses at trial will be deferred, on the basis of

a complete reservation o f the Discovery Participants' rights and positions as to the

entitlement to compel witnesses and, i f permitted, any limitations on the number that may

be compelled or time limits that should be imposed on their testimony and any provision

for the manner in which their deposition transcripts may b e used. The parties have also

agreed to defer the issue as to how deposition transcripts may be used at trial, i f at all,

with respect to fact witnesses who have provided an affidavit and are appearing to

provide brief introductory direct testimony and to be cross-examined. All o f this is to be

decided by the Courts at the first pre-trial conference, which under the current schedule is

to be held the week of February 17 (or such earlier pre-trial conference as the Courts may

be willing to convene following the completion o f fact depositions in order to resolve this


                                         2
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       issue), if the Discovery Participants are not able to reach agreement on some or all of

       these matters before then,



       The parties further stipulate and agree that all o f the other terms and conditions o f the

Deposition Protocol remain in effect except as expressly amended herein
                                                                 .




                                    [Intentionally left blank]




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Dated: September 20,2013


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                 C a s e 09-10138-KG   Doc 11736-2     Filed 09/20/13     P a g e 7 of 1 1




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                                                                                                           Court File No: 09-CL-7950

IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENTACT, R.S.C. 1985, c. C-36, AS AMENDED

AND IN THE MATTER OF A PLAN OF NORTEL NETWORKS CORPORATION, NORTEL NitTWORKS LIMITED,
NORTEL NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS INTERNATIONAL     ORP ORATION AND
NORTEL NETWORKS TECHNOLOGY CORPORATION

APPLICATION UNDER THE COMPANIES' CREDITORS ARRANGEMENT ACT, R.S.C 1985, c. C-36, AS AMENDED




                                                                                                ONTARIO
                                                                                       SUPERIOR COURT OF JUSTICE
                                                                                           COMMERCIAL LIST

                                                                                        Proceeding commenced at Toronto
                                                                                                    ORDER
                                                                                         (Amended Deposition Protocol)

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